                      UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF TENNESSEE (NASHVILLE)
______________________________________________________________________________

STEVEN ERICH HUBBARD,                                      CASE NO.
          Plaintiff,

       vs.
                                                Judge
TRANSUNION, LLC,                                Magistrate Judge
            Defendant.
______________________________________________________________________________

                 TRANS UNION, LLC’S NOTICE OF REMOVAL
______________________________________________________________________________

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Trans Union, LLC (“Trans

Union”) hereby removes the subject action from the Metropolitan General Sessions Court of

Davidson County, Tennessee, to the United States District Court for the Middle District of

Tennessee (Nashville), on the following grounds:

       1.     Plaintiff, Steven Erich Hubbard, served Trans Union on or about May 31, 2021,

with a Civil Warrant initiating an action in the Metropolitan General Sessions Court of Davidson

County, Tennessee. A copy of the Civil Warrant is attached hereto as Exhibit A. Trans Union

has also been served with Plaintiff’s Motion For Permission To Commence Limited Discovery, a

copy of which is attached hereto as Exhibit B. No other process, pleadings or orders have been

served upon Trans Union.

       2.     Plaintiff makes claims under, alleges that Trans Union violated and alleges that

Trans Union is liable under the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (the “FCRA”).

See Civil Warrant, generally.




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       3.      This Court has original jurisdiction over the subject action pursuant to 28 U.S.C.

§ 1331 since there is a federal question. As alleged, this suit falls within the FCRA which thus

supplies this federal question.

       4.      Pursuant to 28 U.S.C. § 1441, et seq., this cause may be removed from the

Metropolitan General Sessions Court of Davidson County, Tennessee, to the United States District

Court for the Middle District of Tennessee (Nashville).

       5.      Notice of this removal will promptly be filed with the Metropolitan General

Sessions Court of Davidson County, Tennessee and served upon all adverse parties.

       WHEREFORE, Defendant, Trans Union, LLC, by counsel, removes the subject action

from the Metropolitan General Sessions Court of Davidson County, Tennessee, to the United

States District Court for the Middle District of Tennessee (Nashville).


                                                       Respectfully submitted,



                                                       /s/ David M. Anthony
                                                       David M. Anthony, Esq. (TN #019951)
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                                                       Counsel for Defendant Trans Union, LLC




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 10th day of June, 2021. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

electronic filing.

 None

        The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 10th day of June, 2021,

properly addressed as follows:

 Pro Se Plaintiff
 Steven Erich Hubbard
 478 North Chancery Street
 McMinnville, TN 37110




                                                        /s/ David M. Anthony
                                                        David M. Anthony, Esq.




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